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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG       *                   CIVIL ACTION
“DEEPWATER HORIZON” IN THE            *                   NO. 2:10-MDL-02179
GULF OF MEXICO, ON APRIL 20, 2010     *
                                      *                   SECTION “J”
THIS DOCUMENT RELATES TO:             *
CASE NO: 2:10-cv-08888; 2:10-cv-02771 *
                                      *                   JUDGE BARBIER
                                      *
                                      *                   MAGISTRATE SHUSHAN
****************************

                                           ORDER

       Considering the foregoing Motion for Leave to File Short Form Joinders:

       IT IS ORDERED that the motion is GRANTED and the Short Form Joinders of

Kenny Dukes, Pete Pierce, Bradford Harrison, David Bonner, Thomas Prine, Chancey

Thompson, Jason Williams, Steven Anderson, Aaron Alutman, Robert Gable, David

Eubanks, Santos Torres, Winston Woods, Danny Gatlin, Corey Benoit, Bucky Martin, Gary

Bujan, Thomas McMullan, Michael Clark, William Taylor, Richard Weems, Mitchel Jones,

Benjamin Lancaster and Eddie Brown, attached to the Motion for Leave to File Short Form

Joinder, is accepted by the Court and shall be considered as timely filed in the above-entitled

proceedings.

       Signed in New Orleans, Louisiana, this ____ day of ______________, 2012.



                             __________________________________________
                             HON. CARL J. BARBIER
                             UNITED STATES DISTRICT JUDGE
